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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA
--------------------------------------------------------------- X
 UNITED STATES STEEL CORPORATION,                               :
 NIPPON STEEL CORPORATION, and NIPPON :                             Civil Action No.: 2:25-cv-15
 STEEL NORTH AMERICA, INC.,                                     :
                                                                :
                            Plaintiffs,                         :
                                                                :   JURY TRIAL DEMANDED
          vs.                                                   :
                                                                :
 CLEVELAND-CLIFFS INC., LOURENCO                                :
 GONCALVES, and DAVID McCALL,                                   :
                                                                :
                            Defendants.                         :
--------------------------------------------------------------- X

        UNITED STATES STEEL CORPORATION’S DISCLOSURE STATEMENT

        Pursuant to LCvR 7.1 of the Western District of Pennsylvania and to enable Judges and

Magistrate Judges to evaluate possible disqualification or recusal, the undersigned counsel for

Plaintiff United States Steel Corporation (“U. S. Steel”) in the above-captioned action certifies that

U. S. Steel is a publicly traded company that is involved in the manufacture and sale of steel

products and related businesses. No parent, subsidiaries, and/or affiliates of U. S. Steel have issued

shares to the public and no publicly held corporation owns 10% or more of U. S. Steel’s stock.




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January 6, 2025                               Respectfully submitted,

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